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                          EXHIBIT 4
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 Subject:     Re: Kleiman Matter - Contempt Hearing
 Date:        Tuesday, January 23, 2024 at 2:20:27 PM Eastern Standard Time
 From:        Joseph Delich
 To:          Velvel Freedman, Alexa.Rosenson@gtlaw.com, Stephen Lagos, Andrew Brenner,
              hclark@rkjlawgroup.com, ckammerer@rkjlawgroup.com
 CC:          GillenwaterJ@gtlaw.com, galbor@gtlaw.com, Maxwell Pritt
 Attachments: image001.png, 2023.08.16 Aos - Greenberg Traurig LLP[15].pdf, 18cv80176 Writ of Execution DE
              1039.pdf


Attached.

Joseph M. Delich
Partner
Freedman Normand Friedland LLP
99 Park Avenue Suite 1910
New York, New York 10016
(t) (646) 970-7541
(c) (402) 208-5062
(@) jdelich@fnf.law

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immediately delete this message.



From: Velvel Freedman <vel@fnf.law>
Date: Tuesday, January 23, 2024 at 2:09 PM
To: Alexa.Rosenson@gtlaw.com <Alexa.Rosenson@gtlaw.com>, Joseph Delich
<jdelich@fnf.law>, Stephen Lagos <slagos@fnf.law>, Andrew Brenner
<abrenner@bsﬂlp.com>, hclark@rkjlawgroup.com <hclark@rkjlawgroup.com>,
ckammerer@rkjlawgroup.com <ckammerer@rkjlawgroup.com>
Cc: GillenwaterJ@gtlaw.com <GillenwaterJ@gtlaw.com>, galbor@gtlaw.com
<galbor@gtlaw.com>, Maxwell Pritt <mpritt@bsﬂlp.com>
Subject: Re: Kleiman Matter - Contempt Hearing

Joe - can you please circulate the writ of garnishment FNF served on GT - along with the ab
of service?

-Vel

Get Outlook for iOS

From: Velvel Freedman <vel@fnf.law>
Sent: Tuesday, January 23, 2024 12:01:48 PM
To: Alexa.Rosenson@gtlaw.com <Alexa.Rosenson@gtlaw.com>; Joseph Delich <jdelich@fnf.law>;
Case 9:18-cv-80176-BB Document 1068-4 Entered on FLSD Docket 02/20/2024 Page 3 of 5


Stephen Lagos <slagos@fnf.law>; Andrew Brenner <abrenner@bsﬂlp.com>; hclark@rkjlawgroup.com
<hclark@rkjlawgroup.com>; ckammerer@rkjlawgroup.com <ckammerer@rkjlawgroup.com>
Cc: GillenwaterJ@gtlaw.com <GillenwaterJ@gtlaw.com>; galbor@gtlaw.com <galbor@gtlaw.com>;
Maxwell Pri] <mpri]@bsﬂlp.com>
Subject: Re: Kleiman Ma]er - Contempt Hearing

Alexa - please circulate the zoom for two. I have about 15 minutes, but that should be
enough for an interim call.

Max wont join us but I’ll catch him up later.

Get Outlook for iOS

From: Alexa.Rosenson@gtlaw.com <Alexa.Rosenson@gtlaw.com>
Sent: Tuesday, January 23, 2024 11:15:03 AM
To: Velvel Freedman <vel@fnf.law>; Joseph Delich <jdelich@fnf.law>; Stephen Lagos <slagos@fnf.law>;
Andrew Brenner <abrenner@bsﬂlp.com>; hclark@rkjlawgroup.com <hclark@rkjlawgroup.com>;
ckammerer@rkjlawgroup.com <ckammerer@rkjlawgroup.com>
Cc: GillenwaterJ@gtlaw.com <GillenwaterJ@gtlaw.com>; galbor@gtlaw.com <galbor@gtlaw.com>;
Maxwell Pri] <mpri]@bsﬂlp.com>
Subject: RE: Kleiman Ma]er - Contempt Hearing

 [EXTERNAL SENDER]

Hi Vel,

Thank you. We are available for a call this afernoon. Does 2pm work? If so, I will circulate a Zoom invite.
We can discuss the date change on our call.

Thank you,
Alexa

Alexa Rosenson
Associate

Greenberg Traurig, P.A.
333 S.E. 2nd Avenue |
Suite 4400 | Miami, FL 33131
T +1 305.579.0650
Alexa.Rosenson@gtlaw.com | www.gtlaw.com | View GT Biography




From: Velvel Freedman <vel@fnf.law>
Sent: Tuesday, January 23, 2024 11:00 AM
To: Rosenson, Alexa (Assoc-MIA-LT) <Alexa.Rosenson@gtlaw.com>; Joseph Delich <jdelich@fnf.law>;
Stephen Lagos <slagos@fnf.law>; Brenner, Andrew (Boies, Schiller & Flexner LLP - Miami, FL)
<abrenner@bsﬂlp.com>; hclark@rkjlawgroup.com; ckammerer@rkjlawgroup.com
Case 9:18-cv-80176-BB Document 1068-4 Entered on FLSD Docket 02/20/2024 Page 4 of 5


Cc: Gillenwater, James E. (Shld-MIA-LT) <GillenwaterJ@gtlaw.com>; Galbo, Robert (Shld-Mia-LT)
<galbor@gtlaw.com>; Maxwell Pri] <mpri]@bsﬂlp.com>
Subject: Re: Kleiman Ma]er - Contempt Hearing

*EXTERNAL TO GT*

Following up on the below. I'm available for most of today and much of tomorrow before noon. Not sure
if Max is available then?

Please let me know about the date change?

-Vel

Get Outlook for iOS

From: Velvel Freedman <vel@fnf.law>
Sent: Thursday, January 18, 2024 9:32:56 PM
To: Alexa.Rosenson@gtlaw.com <Alexa.Rosenson@gtlaw.com>; Joseph Delich <jdelich@fnf.law>;
Stephen Lagos <slagos@fnf.law>; Andrew Brenner <abrenner@bsﬂlp.com>; hclark@rkjlawgroup.com
<hclark@rkjlawgroup.com>; ckammerer@rkjlawgroup.com <ckammerer@rkjlawgroup.com>
Cc: GillenwaterJ@gtlaw.com <GillenwaterJ@gtlaw.com>; galbor@gtlaw.com <galbor@gtlaw.com>
Subject: Re: Kleiman Ma]er - Contempt Hearing

Thanks Alexa. We will send some times next week to meet. In the interim, I have a
conflict on 2/15. Are there dates in the following week you are all available to reset this
hearing to? Or perhaps even the afternoon of 2/16?

Thanks,
-Vel

From: Alexa.Rosenson@gtlaw.com <Alexa.Rosenson@gtlaw.com>
Date: Wednesday, January 17, 2024 at 12:50 PM
To: Velvel Freedman <vel@fnf.law>, Joseph Delich <jdelich@fnf.law>, Stephen Lagos
<slagos@fnf.law>, Andrew Brenner <abrenner@bsﬂlp.com>, hclark@rkjlawgroup.com
<hclark@rkjlawgroup.com>, ckammerer@rkjlawgroup.com
<ckammerer@rkjlawgroup.com>
Cc: GillenwaterJ@gtlaw.com <GillenwaterJ@gtlaw.com>, galbor@gtlaw.com
<galbor@gtlaw.com>
Subject: Kleiman Matter - Contempt Hearing

[EXTERNAL SENDER]

Good afernoon,

As you are aware, the Court ordered a contempt hearing on February 15th to determine whether
remedial sancnons are warranted based on Wright’s ininal failure to produce a completed Form 1.977.
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We’d like to meet and confer to discuss the relief you contemplate seeking at the hearing to explore the
possibility of reaching a resolunon of this issue without the need for a hearing. Please let us know if you
have a proposed resolunon or if you’d like to set up a call to discuss.

Thank you,
Alexa

Alexa Rosenson
Associate

Greenberg Traurig, P.A.
333 S.E. 2nd Avenue |
Suite 4400 | Miami, FL 33131
T +1 305.579.0650
Alexa.Rosenson@gtlaw.com | www.gtlaw.com | View GT Biography




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